                              NO. 07-12-00075-CV
                                       
                            IN THE COURT OF APPEALS
                                       
                       FOR THE SEVENTH DISTRICT OF TEXAS
                                       
                                  AT AMARILLO
                                       
                                    PANEL C
                                       
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MAY 10, 2012
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IN THE MATTER OF THE MARRIAGE OF PABLO CHAVEZ AND ARELLI ROJO AND IN THE INTEREST OF 
                            U.C. AND J.C., CHILDREN
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               FROM THE 31ST DISTRICT COURT OF HEMPHILL COUNTY;
                                       
                 NO. 6660; HONORABLE STEVEN RAY EMMERT, JUDGE
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Before QUINN, C.J., and HANCOCK and PIRTLE, JJ.

                             ON MOTION TO DISMISS
Appellant, Arelli Rojo, has informed this Court by motion to dismiss this appeal that she no longer desires to pursue the appeal.  No decision of this Court having been delivered to date, we grant the motion.  Accordingly, the appeal is dismissed.  See Tex. R. App. P. 42.1(a)(1).  As there was no contrary agreement of the parties included in appellant's motion, all costs related to this appeal are assessed against appellant.  See Tex. R. App. P. 42.1(d).  If dismissal will prevent appellee from seeking relief to which he would otherwise be entitled, the Court directs appellee to file a timely motion for rehearing.  No motion for rehearing from appellant will be entertained.

								Mackey K. Hancock
									Justice
